IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY, Civil Action

Plaintiff, No. 2:22-cv-547-MJH

VS.

MICHAEL RUSSIN, RUSSIN FINANCIAL,

RUSSIN GROUP, SIMON ARIAS, Ill, ARIAS ELECTRONICALLY FILED
AGENCIES, $.A. ARIAS HOLDINGS, LLC,

AMERICAN INCOME LIFE INSURANCE

COMPANY,

Defendants.

MOTION OF SIMON ARIAS, III, ARIAS AGENCIES, S.A. ARIAS HOLDINGS,
LLC, TO JOIN AMERICAN INCOME LIFE INSURANCE COMPANY’S
MOTION TO CONFIRM ARBITRATION AWARD

Defendants Simon Arias, III, Arias Agencies, and S.A. Arias Holdings, LLC (“Arias
Defendants”), by and through their undersigned counsel, hereby join and adopt as if fully set
forth herein American Income Life Insurance Company’s Motion to Confirm Arbitration
Award. A proposed Order is filed contemporaneously.

Arias Defendants further join and adopt as if fully set forth herein American Income
Life Insurance Company’s Memorandum of Law in Support of the Motion to Confirm
Arbitration Award.

Respectfully submitted,
STRASSBURGER McKENNA GUTNICK & GEFSKY
By:___/s/ Jean E. Novak

Jean E. Novak

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Counsel for Defendants, Simon Arias, IH, Arias Agencies,
S.A. Arias Holdings, LLC
CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing
DEFENDANTS SIMON ARIAS, IH, ARIAS AGENCIES, S.A. ARIAS HOLDINGS, LLC’S
MOTION TO JOIN DEFENDANT AMERICAN INCOME LIFE INSURANCE
COMPANY’S MOTION TO CONFIRM ARBITRATION AWARD was served by the
Court’s ECF system, this 13th day of March 2024, on the following:
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